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                         IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

UNITED STATES OF AMERICA                     )
                                             )
       Plaintiff,                            )
                                             )
vs.                                          )    No: 4:20-CR-00418 (JAR)(NAB)
                                             )
TRAVELL ANTHONY HILL                         )
                                             )
       Defendant.                            )

                                       NOTICE OF APPEAL

Party taking the appeal: Travell Anthony Hill

Judgment appealed from: Judgment in a Criminal Case

Date of Judgment or order appealed from: October 20, 2022

Sentence: 384 months

Court to which the appeal is taken:   United States Court of Appeals, Eighth Circuit,
                                      111 So. 10th St., 24th Fl
                                      St. Louis, Missouri 63102

                                             Respectfully submitted:

                                             _/s/ Peter M. Cohen______
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CERTIFICATE OF SERVICE

      A copy of the foregoing was via the court’s ECF system on this 27 th day of October, 2012
to: Angela Danis, Assistant United States Attorney, 111 South 10 th St., Room 20.333, St. Louis,
MO 63102.
                                            _/s/ Peter M. Cohen______
                                            Attorney at Law
